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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION

RODERICK JACKSON PLAINTIFF

V. CASE NO. 5:21-CV-5066

WAL-MART, INC. DEFENDANT
OPINION AND ORDER

On September 29, 2021, the Court held a hearing in this matter by telephone.
Plaintiff Roderick Jackson, proceeding pro se, attended the hearing, as did counsel for
Defendant Walmart, Inc. Mr. Jackson filed his initial complaint (Doc. 2) in this Court on
April 9, 2021. He filed an Amended Complaint (Doc. 4)—which superseded his original
complaint—on May 17, 2021. The Amended Complaint alleges that he was racially
profiled and falsely accused of theft at a Walmart store in Omaha, Nebraska. On July 7,
2021, Mr. Jackson filed a Notice of Personal Service that states he personally served
Walmart through an individual named Keith Rusher on June 9, 2021, at Walmart’s
corporate headquarters located at 702 S.W. 8th Street, Bentonville, Arkansas. (Doc. 6).

On July 27, 2021, Walmart filed a Motion to Dismiss (Doc. 7) and Brief in Support
(Doc. 8). The Motion to Dismiss asserts that Mr. Jackson violated Federal Rule of Civil
Procedure 4(c)(2) by attempting to serve the summons and Amended Complaint himself.
Rule 4(c)(2) states that “[alny person who is at least 18 years old and not a party may
serve a summons and complaint.” (emphasis added). Walmart also argues that the case
should be dismissed because Mr. Jackson failed to serve an officer, managing agent, or
other agent authorized to accept service on Walmart’s behalf, as required by Rule

4(h)(1)(B). Walmart claims it does not know who Keith Rusher is. (Doc. 8, p. 4).
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Mr. Jackson filed a Response in Opposition to the Motion to Dismiss on August 2,
2021. See Doc. 12. In it, he explains he “was given the wrong registered agent” and
asserts he “will re send the summons to the court.” /d. On September 3, Walmart filed a
Rule 26(f) Report (Doc. 14) in which it advised that Mr. Jackson had failed to participate
in the joint conference, as required by the Initial Scheduling Order (Doc. 9). On
September 21, Walmart filed a second Motion to Dismiss (Doc. 15) and Brief in Support
(Doc. 16), asserting that on September 1, 2021, Mr. Jackson attempted to serve Walmart
again, but in doing so only included the summons and the first page of the original
complaint—not the Amended Complaint. In addition, the second attempt at service was
made more than ninety days after the Amended Complaint was filed, in violation of Rule
4(m).

Upon considering the briefing and the parties’ oral argument at the hearing, it is
clear that Mr. Jackson has failed to properly effect service of the summons and Amended
Complaint on Walmart pursuant to Rule 12(b)(5). IT IS THEREFORE ORDERED that
both Motions to Dismiss (Docs. 7 & 15) are GRANTED and the case is DISMISSED
WITHOUT PREJUDICE. The Court cautions Mr. Jackson that if he seeks to refile his
case, he should consider whether a more appropriate venue would be the United States
District Court for the District of Nebraska, where all the events he mentions in the
Amended Complaint took place.

IT IS SO ORDERED on this 1 e “day of Septembel

“UNI ED STATES DISTRICT JUDGE
